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AO 440 (Rev. 06/12) Summons in a Civil Action S E A L E D

UNITED STATES DISTRICT COURT

for the

 

Southern District of Mississippi

SECURlTlES AND EXCHANGE COMMISS|ON

 

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Plaint:j($)
V.

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Civil Action No.

ARTHUR LAMAR ADAMS AND
IV|AD|SON TlMBER PROPERTIES, LLC

 

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Defendant(s)
SU]VHVIONS IN A CIVIL ACTION

TOZ (Deji?ndant’s name and address)
Arthur Lamar Adams
134 St. Andrews Drive
Jackson. MS 392‘|1

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(?) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,

whose name and address are:
W. Shawn N|urnahan
Securities and Exchange Commission
950 East Paces Ferry Road, N.E., Suite 900
Atlanta, GA 30326-1382

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court

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Signatw¢!quIerk or Deputy Clerk

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AO 440 (Rev. 06."12) Summons in a Civil Action d S EA L E D

UNITED STATES DIsTRICr CoURT

for the

Southern District of Mississippi

SECUR]TIES AND EXCHANGE COMM|SS|ON

 

Plai`nn]_'j"(s)
V.

Civii nation No. 31 \%C_\/ 353 -B?S_ F Y`@

ARTHUR LAMAR ADA|V|S AND
MAD|SON T||V|BER PROPERT|ES, LLC

 

Defendant(s)
SUlVll\/IONS IN A CIVIL ACTION

TO: (Defendant’s name and address)
Madison Timber Properties, |_LC
% Arthur Lamar Adams
134 St. Andrews Drive
Jackson, |VIS 39211

A lawsuit has been filed against you.

' Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) ~# you must Scrve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’-s attomey,
whose name and address are:

W. Shawn Mumahan

‘Securlties and Exchange Commission

950 East Paces Ferry Road, N.E., Suite 900
Atlanta, GA 30326-1382

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You also must file your answer or motion with the court

ARTHUR_JOHNSTON_
CLERK OF co URT

APR 2 nzzma

Date‘.

 

 

Signatdl{f€lerk or Depury Clerk

